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Agenda47: Day One Executive Order
Ending Citizenship for Children of
Illegals and Outlawing Birth Tourism
May 30, 2023




 Agenda47: Day One Executive Order Ending Citizenship for Children of Illegals a…
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Mar-a-Lago, FL— In a new Agenda47 video, President Donald J. Trump announced
his plan to sign an executive order on Day One to end automatic citizenship for
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children of illegal aliens.

“As part of my plan to secure the border, on Day One of my new term in office, I will
sign an executive order making clear to federal agencies that under the correct
interpretation of the law, going forward, the future children of illegal aliens will not
receive automatic U.S. citizenship,” President Trump said.

“My policy will choke off a major incentive for continued illegal immigration, deter
more migrants from coming, and encourage many of the aliens Joe Biden has
unlawfully let into our country to go back to their home countries.”

PRESIDENT TRUMP’S PLAN TO DISCOURAGE ILLEGAL IMMIGRATION BY ENDING
AUTOMATIC CITIZENSHIP FOR THE CHILDREN OF ILLEGAL ALIENS AND
OUTLAWING BIRTH TOURISM

A DAY-ONE EXECUTIVE ORDER TO SHUT OFF A MAGNET FOR ILLEGAL
IMMIGRATION:

- On Day One, President Trump will sign an Executive Order to stop federal agencies
from granting automatic U.S. citizenship to the children of illegal aliens.

- It will explain the clear meaning of the 14th Amendment, that U.S. Citizenship
extends only to those both born in AND “subject to the jurisdiction” of the United
States.

- It will make clear that going forward, the children of illegal aliens will not be granted
automatic citizenship, and should not be issued passports, Social Security numbers,
or be eligible for certain taxpayer funded welfare benefits.

- It will direct federal agencies to require that at least one parent be a U.S. citizen or
lawful permanent resident for their future children to become automatic U.S.
citizens.

- This Executive Order ending automatic citizenship for the children of illegal aliens
will eliminate a major incentive for illegal immigration, discourage future waves of
illegal immigration to exploit this misapplication of citizenship, and encourage illegal
aliens in the U.S. to return home.
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- The Executive Order will also stop “Birth Tourism.”

- Through “Birth Tourism,” tens of thousands of foreign nationals fraudulently enter
the U.S. each year during the final weeks of their pregnancies for the sole purpose of
obtaining U.S. citizenship for their child.

- Under the current erroneous interpretation, the children of these foreign nationals
are then eligible to receive a host of government benefits reserved for U.S. citizens,
including a myriad of welfare programs and taxpayer funded healthcare, as well as
chain migration and the right to vote.

- The Executive Order is part of a larger strategy to fully secure the Southern Border
starting on Day One. It will remove a major incentive for illegal aliens and other
foreign nationals to come to and remain in the United States in violation of our laws
and National sovereignty.

- The announcement of today’s Executive Order follows a historical slate of hundreds
of executive actions, proclamations, and presidential memorandums on border
security and immigration that President Trump implemented while in office to
remake the immigration system in the United States for the interest of the American
people, including:

- Executive Order Implementing the Travel Ban and Pausing Refugee Admissions

- Executive Order on Border Security and Immigration Enforcement

- Presidential Memorandum on the Extreme Vetting of Foreign Nationals

- Presidential Memorandum to Create a National Vetting Center

- Executive Order to Unleash Interior Immigration Enforcement

- Executive Order to Block Federal Grants to Sanctuary Cities

- Presidential Memorandum Ordering DHS to Train National Guard Troops to Assist
with Border Enforcement

- Presidential Memorandum to End "catch and release" at the Border
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- Presidential Proclamation Suspending Entry Across Southern Border Outside Ports
of Entry to Bar Asylum Access

- Executive Order requiring the U.S. Government to Prioritize the Hiring of U.S.
Workers in the Administration of all Immigration Programs

- Executive Order on Aligning Federal Contracting and Hiring Practices with the
Interests of American Workers

- Presidential Proclamation Suspending Chain Migration, Visa Lottery, and All Non-
Essential Foreign Workers

- Presidential Proclamation on Suspension of Entry of Immigrants Who Will
Financially Burden the United States Healthcare System

- Presidential Memorandum to Cut Off Immigrant Access to the Welfare State

PRESIDENT TRUMP’S EXECUTIVE ORDER WILL FINALLY ENSURE THAT THE
FEDERAL GOVERNMENT NO LONGER ADHERES TO A PATENTLY INCORRECT
INTERPRETATION OF THE 14TH AMENDMENT:

- Constitutional scholars have shown for decades that granting automatic citizenship
to the children of illegal aliens born in the United States is based on a patently
incorrect interpretation of the 14th Amendment.

- The 14th Amendment extends federal citizenship to “[a]ll persons born or
naturalized in the United States, and subject to the jurisdiction thereof.”

- The purpose of the 14th Amendment had nothing to do with the citizenship of
immigrants, let alone the citizenship of the children of illegal aliens. Its purpose was
to extend citizenship to people newly freed from slavery, whose status was left in
question after the infamous case Dred Scott v. Sandford.

- The framers of the 14th Amendment made clear that “persons born in the United
States who are foreigners, aliens [or] who belong to the families of ambassadors or
foreign ministers” are not “subject to the jurisdiction” of the U.S.
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- For years, open-borders proponents have deliberately misinterpreted “subject to
the jurisdiction” in the 14th Amendment to mean merely subject to American law,
which is the case for anyone physically present in the United States.

- This twisting of the amendment's meaning and intent has caused America to
become one of the few countries in the world to extend citizenship to the children of
illegal aliens even if both parents are not citizens nor even legally present in the
United States, thus diluting the privileges that Americans are entitled to.

BIDEN’S OPEN BORDER POLICY IS A NATIONAL SECURITY, ECONOMIC, AND
HUMANITARIAN DISASTER:

- A record number of illegal aliens crossed the southern border in both 2021 and
2022. In the official numbers alone, there have been over 6.6 million illegal crossings
since Biden took office—but the true numbers are much higher.

- Biden has deliberately made his border disaster worse by abolishing Title 42 this
month, allowing for an additional 400,000 illegal aliens from all corners of the globe
to pour across our border each month.

- This invasion is wasting our resources, lowering our citizens’ wages, poisoning our
communities with lethal drugs, and threatening our national security.

- Illegal immigration reduces American workers’ wages by $99 to $118 billion each
year, with the burden falling most heavily on low-wage workers.

- Thousands of pounds of deadly drugs are pouring across our borders, poisoning
over 100,000 of our citizens each year. Fueled in large part by Biden’s border disaster,
fentanyl poisoning has become the leading cause of death for Americans between
the ages of 18 and 45.

- Nearly 100 known or suspected terrorists were arrested at the border last year—
more than three times the total for the previous five years combined. Border arrests
of illegal alien murderers increased by over 1,900% and arrests of illegal alien drug
traffickers increased by 480% since 2020.

- Biden’s open border policy has also created a humanitarian crisis, with migrant
deaths reaching a record high last year and human smuggling arrests up 82% since
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2014.

TRANSCRIPT

Joe Biden has launched an illegal foreign invasion of our country allowing a record
number of illegal aliens to storm across our borders. From all over the world, they
came. Under Biden's current policies even though these millions of illegal border
crossers have entered the country unlawfully, all of their future children will become
automatic U.S. citizens. Can you imagine?

They'll be eligible for welfare, taxpayer-funded healthcare, the right to vote, chain
migration, and countless other government benefits, many of which will also profit
the illegal alien parents. This policy is a reward for breaking the laws of the United
States and is obviously a magnet, helping draw the flood of illegals across our
borders.

They come by the millions and millions and millions. They come from mental
institutions, they come from jails-- prisoners, some of the toughest, meanest people
you'll ever see. The United States is among the only countries in the world that says
that even if neither parent is a citizen nor even lawfully in the country, their future
children are automatic citizens the moment the parents trespass onto our soil. As
has been laid out by many scholars, this current policy is based on a historical myth,
and a willful misinterpretation of the law by the open borders advocates. There aren't
that many of them around.

It's an amazing. Who wants this? Who wants to have prisoners coming into our
country? Who wants to have people who are very sick coming into our country?
People from mental institutions coming into our country? And come they will,
they're coming by the thousands, by the tens of thousands.

As part of my plan to secure the border on Day One of my new term in office, I will
sign an executive order making clear to federal agencies that under the correct
interpretation of the law, going forward, the future children of illegal aliens will not
receive automatic U.S. citizenship. It's things like this that bring millions of people to
our country, and they enter our country illegally. My policy will choke off a major
incentive for continued illegal immigration, deter more migrants from coming, and
encourage many of the aliens Joe Biden has unlawfully let into our country to go
back to their home countries.
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They must go back. Nobody could afford this. Nobody could do this. And even
morally it's so wrong. My order will also end their unfair practice known as birth
tourism, where hundreds of thousands of people from all over the planet squat in
hotels for their last few weeks of pregnancy to illegitimately and illegally obtain US
citizenship for the child, often to later exploit chain migration to jump the line and
get green cards for themselves and their family members.

It's a practice that's so horrible, and so egregious, but we let it go forward. At least
one parent will have to be a citizen or a legal resident in order to qualify. We will
secure our borders and we will restore our sovereignty. Starting on Day One, our
country will be great again. Our country will be a country again. We'll have borders,
we'll have proper education, and we'll put America First.

Thank you.
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